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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

        v.                                              Criminal Action No. 24 - 228 (LLA)

 TYLER CAMPANELLA,

                Defendant.



                                             ORDER

       On September 25, 2024, Defendant Tyler Campanella was indicted on multiple charges in

connection with his participation in the riot at the U.S. Capitol on January 6, 2021. ECF No. 19.

The court has scheduled a status conference for December 18, 2024. Minute Order (Nov. 12, 2024).

Mr. Campanella now requests that the court reschedule the status conference for January 31, 2025.

ECF No. 24. He argues that holding the status conference on its current date “may be an

uneconomic use of the Court’s time” because “President-elect Trump stated . . . his intention to

issue pardons to January 6 defendants” shortly after taking office. Id. at 1.

        Mr. Campanella’s motion is DENIED. As other judges in this district have explained,

“[w]hatever the President-elect may or may not do with respect to some of those charged at the

Capitol on January 6, 2021, is irrelevant to the Court’s independent obligations and legal

responsibilities under Article III of the Constitution.” United States v. Baez, No. 21-CR-507, ECF

No. 121, Order (D.D.C. Nov. 19, 2024); see United States v. Lichnowski, No. 23-CR-341, ECF

No. 73, Order (D.D.C. Nov. 7, 2024) (explaining that “the potential future exercise of the

discretionary pardon power, an Executive Branch authority, is irrelevant to the Court’s obligation

to carry out the legal responsibilities of the Judicial Branch”); see also, e.g., United States v.
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Carnell, No. 23-CR-139, Minute Order (D.D.C. Nov. 6, 2024); United States v. Bosch,

No. 24-CR-210, Minute Order (D.D.C. Nov. 7, 2024); United States v. Baker, No. 24-CR-121,

Minute Order (D.D.C. Nov. 11, 2024); United States v. Allen, No. 23-CR-261, Minute Order

(D.D.C. Nov. 12, 2024);   United   States   v.       Johnson,   No. 24-CR-141,       Minute   Order

(D.D.C. Nov. 13, 2024); United States v. Fuller, No. 23-CR-209, ECF No. 101, Order

(D.D.C. Nov. 21, 2024). The December 18, 2024 status conference will proceed as scheduled.

       SO ORDERED.




                                                      LOREN L. ALIKHAN
                                                      United States District Judge

Date: December 17, 2024




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